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United States v. John Stuart

21-CR-07-LJV-JIM

DEFENDANT’S
EXHIBIT A

 
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UNITED STATES DISTRICT COURT
“CWESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, 21-CR-007-LIV-JIM

Vv :
" DECLARATION
JOHN STUART, UNDER 28 U.S.C. § 1746
Defendant

 

I. I, John Stuart, am the defendant in this matter and J submit this declaration for the
limited purpose of establishing standing in my residence at 1010 Cleveland Drive, Cheektowaga,
NY 14225 (the residence) and in support of the factual allegations regarding my omnibus
motion.

2. 1 have not included ali facts known to me in this matter, rather, only those that

appear at this time to be necessary for this motion.

3. At the time the police executed a search warrant (altached to my motion) and
searched my house, | paid rent for and lived at the residence.

4, Because the residence was my home, | had an expectation of privacy’ in the

residence, ‘The residence was mine: { could exclude others and otherwise exerted possession and

control over the residence.

I declare under penalty of perjury that the foregoing is true and correct.

DATED:

 

 

 

 
